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January 17, 2025

Sent via ECF

Hon. Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

RE:      The New York Times Co. v. Microsoft Corp., et al., No. 1:23-cv-11195
         Daily News, LP, et al. v. Microsoft Corp., et al., No. 1:24-cv-3285
         The Center for Investigative Reporting, Inc. v. Microsoft Corp., et al., No. 1:24-cv-04872
         Authors Guild et al. v. OpenAI Inc. et al., No. 1:23-cv-8292
         Alter et al. v. OpenAI Inc. et al., No. 1:23-cv-10211

Dear Judge Wang:

Defendants Microsoft and OpenAI respectfully submit this additional letter regarding deposition
protocols, necessitated because the Class and News Plaintiffs filed their respective proposals
requesting affirmative relief as opposition briefs rather than as motions.1 Defendants respectfully
request that the Court consider this additional letter, because otherwise Defendants will have had
no opportunity to address in writing the Plaintiffs’ proposals.2 See Bravia Cap. Partners, Inc. v.
Fike, 296 F.R.D. 136, 144 (S.D.N.Y. 2013) (“reply papers may properly address new material
issues raised in the opposition papers so as to avoid giving unfair advantage to the answering
party”) (quoting Bayway Ref. Co. v. Oxygenated Mktg. & Trading, 215 F.3d 219, 226–27 (2d
Cir.2000)).

To start, Plaintiffs’ proposals actually propose no coordination at all. As to the specifics of
Plaintiffs’ competing proposals: First, there is no justification for the number of hours of
depositions that Plaintiffs are seeking. Plaintiffs seek 260 hours of depositions from Defendants
in the News Cases and another 225 hours in the NY Class Cases–the equivalent of 70 7-hour
depositions. Each set of plaintiffs requests more than double the time allocated for the plaintiffs
in the California Coordinated Class Action, where the court recently ordered each side 105 hours
of 30(b)(1) depositions inclusive of party and non-party witnesses (the equivalent of 15 7-hour
depositions), 20 hours of 30(b)(6) depositions, and a 3.5-hour limit on apex witnesses. See
Tremblay, et al. v. OpenAI, Inc., et al., No. 3:23-cv-03223, Dkt. 247. Plaintiffs have provided no
credible justification for demanding so many hours in these New York proceedings, especially
given the extensive factual overlap between the NY Class and News Cases and the high likelihood
that many witnesses will be deposed on identical or substantially similar subject matter. Indeed,
Rule 26 provides that the Court “must limit the frequency or extent of discovery otherwise
allowed” if it determines that the discovery sought would be unreasonably cumulative or
duplicative. Plaintiffs do nothing more than point to the raw numbers of document custodians,

1
 Plaintiffs’ Oppositions were filed at: Times, ECF 403; Authors Guild, ECF 312.
2
 Defendants objected to Plaintiffs proceeding in this fashion, but Plaintiffs refused to make their filings as affirmative
motions.

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subpoenas, and individuals on initial disclosures without ever explaining why depositions of all
these witnesses are necessary. The very purpose of the limits in the Federal Rules is to require
prioritization and the same principle must be applied here. Equally problematic is Plaintiffs’
position that depositions may be heavily, or entirely skewed, to one Defendant. That again flouts
the requirement of showing good cause for the expansion of deposition limits. While Defendants
agree that expansions to the Rule 30 limits are necessary due to the complexity of the claims, each
side must still adhere to the proportionality requirement and the requirement the discovery not be
unreasonably cumulative or duplicative. See Rule 26(b)(2)(C). Plaintiffs’ approach to double or
triple the limit without showing good cause flouts that principle.

Second, Plaintiffs’ multiple proposals do not facilitate efficiency in any way, shape, or form.
Plaintiffs have three separate coordination proposals—one for the News Cases, one for the NY
Class cases, and one for both the NY Class and News Cases.3 These three convoluted, often
conflicting proposals4 fail to foster the efficiency that this Court’s consolidation orders are
designed to achieve. See Rule 42. With up to 14 hours per deposition of any witness noticed in
an individual capacity in both cases, and theoretically up to 49 hours for an individual appearing
in their individual and 30(b) capacity, the potential for repetitive questioning and unnecessary
prolongation of depositions is high.5 This will not only inevitably extend the discovery timeline,
but also places an extreme undue burden on witnesses. In contrast, the Defendants’ proposal offers
a more efficient framework with additional limits, including cross-noticing, 9-hour limit for
individuals noticed as 30(b)(1) only, a 12-hour limit for witnesses noticed in their individual
capacity and designated as a 30(b)(6) witness, and a 5-hour limit for Apex witnesses.6 Courts
frequently impose shorter depositions for apex witnesses without exhaustive, witness-by-witness
litigation at the outset—especially in complex, high-profile matters. By coordinating depositions
across all New York cases and setting consolidated 30(b)(6) notices, the Defendants’ approach
reduces redundancy and ensures that testimony is comprehensive yet non-duplicative. These
constraints ensure that depositions remain focused and efficient, minimizing unnecessary
expenditure; such governance is completely lacking in Plaintiffs’ proposal.

Defendants do not oppose a cap on 30(b)(6) witness testimony within the overall limits, but again
Plaintiffs proposal goes too far without justification. Plaintiffs propose a minimum of 18 hours
and a maximum of 25 hours of 30(b)(6) testimony from each Defendant in each case without a
basis to do so other than a vague statement that the case is “highly technical” and there are several
areas on which examination is required – as is true for many cases heard by this Court. A maximum
of 20 hours is more appropriate, equating to roughly 3 7-hour days of 30(b)(6) testimony.


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  The News Case Plaintiffs continue to ignore that those cases have already been consolidated.
4
  For example, News Plaintiffs object to any coordination with California, while the Class Plaintiffs advocate for it.
5
  To underscore the undue burden, and lack of coordination, inherent in Plaintiffs’ approach—for any witness noticed
solely in the News Cases, News Plaintiffs propose a 10-hour limit for 30(b)(1) depositions (a three-hour increase over
the standard seven-hour day) in addition to a 7-hour deposition in the Class Cases, disregarding the formal
consolidation of these actions and effectively penalizing Defendants for the existence of multiple but overlapping
proceedings. And, this proposal inconsistent with the Class Plaintiffs who propose a 10-hour cap for individual
witnesses across the Class and News cases.
6
  That Plaintiffs have noted that an Apex witness from OAI and an Apex witness from Microsoft may have information
relevant to the dispute may justify taking their depositions, it does not justify why more than five hours of deposition
time is necessary.

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Third, cross-production of documents across all of the New York cases is inappropriate and
unnecessary. Plaintiffs suggest that there has not been any cross production of documents and
that is what is preventing coordination. Not so. For example, over 90% of the documents produced
by OpenAI have been produced in all cases. To the extent there is a concern about a particular
deponent, that can be taken up on a case-by-case basis. There is no need for a blanket order on
cross-production. Indeed, courts routinely reject blanket cross-production in coordinated cases
where the parties and claims are not coextensive.7 While core issues regarding training the
generative AI models are common across all cases (making coordination appropriate), the claims
are not entirely coextensive: the News Cases raise distinct claims related to retrieval-augmented
generation not present in the NY Class Cases. Mandatory blanket cross-production wastes
resources and expands discovery far beyond any Rule 26 standard of relevance or proportionality.

For the foregoing reasons, Defendants respectfully request that the Court reject Plaintiffs’
competing proposals and ask that the Court enter their proposed Order.

Respectfully submitted,

/s/ Sheryl Koval Garko                                /s/ R. James Slaughter

Sheryl Koval Garko                                    R. James Slaughter
Counsel for Microsoft                                 Counsel for OpenAI Defendants




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  See United States v. Anthem, Inc., No. 20-CV-2593 (ALC)(KHP), 2024 WL 1116276, at *4 (S.D.N.Y. Mar. 13,
2024) (collecting cases) (“[N]umerous courts have found that requests for ‘all’ documents produced in another
litigation, so-called ‘clone [or] ‘copycat’ discovery, are inherently overbroad requests requiring the Court to
considerably scale back the information that a producing party must produce from another litigation or deny it entirely
on the ground that a party must do its own work.”); In re Volkswagen “Clean Diesel” Mktg., Sales Pracs., & Prod.
Liab. Litig., No. MDL 2672 CRB (JSC), 2017 WL 4680242, at *2 (N.D. Cal. Oct. 18, 2017) (plaintiffs “are not entitled
to complete access to [another] [p]roduction simply because there may be overlap between their claims.”); see also In
re OpenAI ChatGPT Litig., No. 23-cv-3223 (N.D. Cal.) Dkt. 140 (rejecting motion for cross-production).

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